               USDC IN/ND case 1:19-cv-00399-DRL document 37 filed 09/17/19 page 1 of 5
                                                                      MIDP,SCHENKIER,TERMED
                                United States District Court
              Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1 (Chicago)
                      CIVIL DOCKET FOR CASE #: 1:19−cv−00729

Burckhartte v. GM Corporation et al                        Date Filed: 02/05/2019
Assigned to: Honorable John Robert Blakey                  Date Terminated: 09/11/2019
Demand: $9,999,000                                         Jury Demand: Both
Cause: 28:1332 Diversity−Personal Injury                   Nature of Suit: 360 P.I.: Other
                                                           Jurisdiction: Diversity
Plaintiff
Brian Burckhartte                            represented by Mitchell Benjamin Friedman
                                                            Morici, Figlioli & Associates
                                                            150 North Michigan Avenue
                                                            Suite 1100
                                                            Chicago, IL 60601
                                                            (312) 372−9600
                                                            Email: friedman@moricifiglioli.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED


V.
Defendant
General Mortors Corporation
TERMINATED: 06/26/2019

Defendant
General Motors, LLC                          represented by Christina C Brunty
                                                            Dykema Gossett Pllc
                                                            10 S Wacker Dr., Ste. 2300
                                                            Chicago, IL 60606
                                                            (312) 627−2555
                                                            Email: cbrunty@dykema.com
                                                            ATTORNEY TO BE NOTICED

                                                            John David Black
                                                            Dykema Gossett PLLC
                                                            39577 Woodward Ave.
                                                            Bloomfield Hills, MI 48304
                                                            (248) 203−0515
                                                            Email: jblack@dykema.com
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

Defendant
General Motors LLC                           represented by Brian Thomas Smith
                                                            Dykema Gossett PLLC
                                                            39577 Woodward Avenue
             USDC IN/ND case 1:19-cv-00399-DRL document 37 300
                                                     Suite   filed 09/17/19 page 2 of 5
                                                                         Bloomfield Hills, MI 48304
                                                                         248−203−0843
                                                                         Email: BTSMITH@DYKEMA.COM
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Christina C Brunty
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED


Date Filed    #   Docket Text

02/05/2019   Ï1   COMPLAINT filed by Brian Burckhartte; Jury Demand. Filing fee $ 400, receipt number
                  0752−15448337.(Friedman, Mitchell) (Entered: 02/05/2019)

02/05/2019   Ï2   CIVIL Cover Sheet (Friedman, Mitchell) (Entered: 02/05/2019)

02/05/2019   Ï3   ATTORNEY Appearance for Plaintiff Brian Burckhartte by Mitchell Benjamin Friedman
                  (Friedman, Mitchell) (Entered: 02/05/2019)

02/05/2019    Ï   CASE ASSIGNED to the Honorable John Robert Blakey. Designated as Magistrate Judge the
                  Honorable Sidney I. Schenkier. Case assignment: Random assignment. (jjr, ) (Entered: 02/05/2019)

02/06/2019    Ï   SUMMONS Issued as to Defendant General Mortors Corporation (jjr, ) (Entered: 02/06/2019)

02/06/2019   Ï4   NOTICE TO THE PARTIES − The Court is participating in the Mandatory Initial Discovery Pilot
                  (MIDP). The key features and deadlines are set forth in this Notice which includes a link to the
                  (MIDP) Standing Order and a Checklist for use by the parties. In cases subject to the pilot, all
                  parties must respond to the mandatory initial discovery requests set forth in the Standing Order
                  before initiating any further discovery in this case. Please note: The discovery obligations in the
                  Standing Order supersede the disclosures required by Rule 26(a)(1). Any party seeking affirmative
                  relief must serve a copy of the following documents (Notice of Mandatory Initial Discovery and the
                  Standing Order) on each new party when the Complaint, Counterclaim, Crossclaim, or Third−Party
                  Complaint is served. (smm, ) (Entered: 02/06/2019)

02/08/2019   Ï5   MINUTE entry before the Honorable John Robert Blakey: This case has been assigned to the
                  calendar of the Honorable John Robert Blakey. Pursuant to General Order 17−0005, this case falls
                  within the Mandatory Initial Discovery Pilot (MIDP) Project, and the "Standing Order in MIDP
                  Cases" now governs the conduct of the litigants in this matter. Under the MIDP, this Court shall
                  enforce the MIDP Standing Order via the Court's inherent authority (including the contempt of court
                  power) and the Federal Rules of Civil Procedure. Consequently, both the parties and their attorneys
                  are hereby ordered to review and fully comply with the MIDP Standing Order, which is available on
                  the Court's homepage: http://www.ilnd.uscourts.gov/_assets/_documents/MIDP Standing Order.pdf.
                  The parties are further advised that in light of the MIDP's intended goal of reducing the traditional
                  cost and delay of federal civil litigation, this Court will not grant routine motions for extensions of
                  time to meet the deadlines imposed by the MIDP Standing Order (even agreed motions made jointly
                  by the parties). During the course of the litigation, the attorneys must also appear at all hearing dates
                  set by the Court or noticed by the parties. If an attorney has a conflict with a set court date, the
                  attorney must notify Judge Blakey's Courtroom Deputy, Gloria Lewis, at (312)818−6699. If
                  appropriate, the Court will then reset the matter. Advising opposing counsel of a scheduling conflict
                  is not a substitute for communicating directly with the Court. The litigants are further ordered to
                  review and fully comply with all of this Court's own standing orders, which are available on Judge
                  Blakey's information page on the Court's official website: http://www.ilnd.uscourts.gov/. An initial
                  status conference is hereby set for 3/21/2019 at 9:45 a.m. in Courtroom 1203. At the status
             USDCconference,
                   IN/ND case    1:19-cv-00399-DRL
                             the Court                     document
                                       will discuss the MIDP and ask the37   filedquestions
                                                                         parties    09/17/19     page
                                                                                            to verify that3 they
                                                                                                             of 5have
                    reviewed and complied with the MIDP Standing Order. Without exception, the parties must also file
                    a status report no later than 3/14/2019, using the model template set forth in this Courts standing
                    order regarding Initial (or Reassignment) Status Conferences. Failure by any party to file the status
                    report by the requisite deadline (either jointly or, if necessary, individually with an explanation as to
                    why a joint report could not be filed) may result in a summary dismissal of the case for failure to
                    prosecute, or an entry of default against any served defendant(s) failing to comply with this order.
                    Mailed notice (gel, ) (Entered: 02/08/2019)

02/19/2019    Ï6    MOTION by Plaintiff Brian Burckhartte for leave to file First Amended Complaint at Law
                    (Friedman, Mitchell) (Entered: 02/19/2019)

03/14/2019    Ï7    STATUS Report by Brian Burckhartte (Friedman, Mitchell) (Entered: 03/14/2019)

03/19/2019    Ï8    MINUTE entry before the Honorable John Robert Blakey: Plaintiff's motion for leave to file a first
                    amended complaint 6 is granted. Plaintiff shall file any amended complaint by 3/29/19. Plaintiff is
                    advised that this Court's Local Rules and standing orders require all motions to be noticed for
                    presentment and not just filed on the docket. In the future, the Court will strike any motion that fails
                    to comply with the Court's rules and orders. The initial status conference previously set for 3/21/19
                    is stricken and reset for 5/2/19 at 9:45 a.m. in Courtroom 1203. The parties shall file an initial status
                    report by 4/22/19. Failure to file the status report by this date may result in a summary dismissal of
                    the case for failure to prosecute or an entry of default against any served defendant(s) for failing to
                    comply with this order. Mailed notice (gel, ) (Entered: 03/19/2019)

03/27/2019    Ï9    FIRST AMENDED complaint by Brian Burckhartte against General Motors, LLC (Friedman,
                    Mitchell) (Entered: 03/27/2019)

03/27/2019     Ï    SUMMONS Issued as to Defendant General Motors, LLC (mc, ) (Entered: 03/27/2019)

04/29/2019   Ï 10   MINUTE entry before the Honorable John Robert Blakey: This case is hereby dismissed for want of
                    prosecution based upon the parties' failure to file the status report required by the Court's 3/19/19
                    order 8 . For questions concerning the dismissal of this case or the Mandatory Initial Discovery Pilot
                    Project, the parties should immediately call Judge Blakey's chambers at (312) 435−6058. The initial
                    status conference previously set for 5/2/19 is stricken. Civil case terminated. Mailed notice (gel, )
                    (Entered: 04/29/2019)

04/30/2019   Ï 11   STATUS Report by Brian Burckhartte (Friedman, Mitchell) (Entered: 04/30/2019)

05/01/2019   Ï 12   MINUTE entry before the Honorable John Robert Blakey: Plaintiff has now filed the required status
                    report 11 , and the case is hereby reinstated. The case is set for an initial status conference on
                    5/29/19 at 9:45 a.m. in Courtroom 1203. The parties shall file a joint initial status report by 5/22/19.
                    Additionally, by 5/10/19, Plaintiff should file a supplemental brief not to exceed 5 pages stating the
                    citizenship of each party and identifying the name and domicile(s) of each and every member of
                    General Motors, LLC. See Belleville Catering Co. v. Champaign Market Place, LLC, 350 F.3d 691,
                    692−93 (7th Cir. 2003) (explaining that, for purposes of diversity jurisdiction, partnerships and
                    limited liability companies are citizens of every state of which any member is a citizen). Mailed
                    notice (gel, ) (Entered: 05/01/2019)

05/03/2019   Ï 13   SUMMONS Returned Executed by Brian Burckhartte as to All Defendants. (Friedman, Mitchell)
                    (Entered: 05/03/2019)

05/09/2019   Ï 14   SUPPLEMENT to case reopened,,,, set/clear flags,,,, set/reset hearings,,, 12 (Friedman, Mitchell)
                    (Entered: 05/09/2019)

05/09/2019   Ï 15   NOTICE by Brian Burckhartte re supplement 14 (Friedman, Mitchell) (Entered: 05/09/2019)

05/14/2019   Ï 16
             USDCATTORNEY
                  IN/ND case 1:19-cv-00399-DRL
                           Appearance                document
                                      for Defendant General     37LLC
                                                            Motors, filed
                                                                        by 09/17/19    page 4(Brunty,
                                                                           Christina C Brunty  of 5
                    Christina) (Entered: 05/14/2019)

05/14/2019   Ï 17   ATTORNEY Appearance for Defendant General Motors LLC by Christina C Brunty Amended
                    Attorney Appearance (Brunty, Christina) (Entered: 05/14/2019)

05/15/2019   Ï 18   MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number 0752−15827386.
                    (Black, John) (PDF not legible − blank − Docket text modified by Clerk's Office) Modified on
                    5/15/2019 (bg, ). Modified on 5/15/2019 (bg, ). (Entered: 05/15/2019)

05/15/2019   Ï 19   MOTION for Leave to Appear Pro Hac Vice, receipt number 0752−15827386 (paid in entry # 18
                    /blank doc by General Motors LLC Corrected (Black, John) (Docket text modified by Clerk's
                    Office) Modified on 5/15/2019 (bg, ). (Entered: 05/15/2019)

05/17/2019   Ï 20   ATTORNEY Appearance for Defendant General Motors LLC by Brian Thomas Smith (Smith,
                    Brian) (Entered: 05/17/2019)

05/21/2019   Ï 21   MOTION by Defendant General Motors LLC to dismiss or, in the alternative, MOTION by
                    Defendant General Motors LLC to change venue (Attachments: # 1 Exhibit Ex. A)(Brunty,
                    Christina) (Entered: 05/21/2019)

05/21/2019   Ï 22   NOTICE of Motion by Christina C Brunty for presentment of motion to dismiss, motion to change
                    venue 21 before Honorable John Robert Blakey on 5/30/2019 at 09:45 AM. (Brunty, Christina)
                    (Entered: 05/21/2019)

05/22/2019   Ï 23   STATUS Report JOINT by General Motors LLC (Brunty, Christina) (Entered: 05/22/2019)

05/22/2019   Ï 24   MINUTE entry before the Honorable John Robert Blakey: John Black's motion for leave to appear
                    pro hac vice 19 is granted. The Court is in receipt of Defendant's motion to dismiss 21 . Plaintiff is
                    advised to review the Courts standing order on Motions to Dismiss, which is available on the Courts
                    homepage at www.ilnd.uscourts.gov. The Court's Order requires Plaintiff to make an election as to
                    whether he will amend his complaint or stand on the current complaint and proceed with briefing on
                    the motion to dismiss. Defendant's motion to dismiss is reset for presentment on 5/29/2019 at 9:45
                    a.m. in Courtroom. Plaintiff shall be prepared to make an election at the next hearing. Motion
                    hearing set for 5/30/2019, is stricken. Mailed notice (gel, ) (Entered: 05/22/2019)

05/29/2019   Ï 25   MINUTE entry before the Honorable John Robert Blakey: Status hearing held on 5/29/2019. Oral
                    motion for leave to file amended complaint is granted and shall be filed on or before 6/19/2019.
                    Defendant's motion to dismiss 21 is denied without prejudice. Oral motion for leave to file corrected
                    joint report is granted. Status hearing set for 6/26/2019 at 9:45 a.m. in Courtroom 1203. Discovery
                    stayed by agreement until 6/26/2019. Mailed notice (gel, ) (Entered: 05/29/2019)

06/04/2019   Ï 26   STATUS Report JOINT by General Motors LLC (Black, John) (Entered: 06/04/2019)

06/19/2019   Ï 27   Second AMENDED complaint by Brian Burckhartte against All Defendants (Attachments: # 1
                    Notice of Filing)(Friedman, Mitchell) (Entered: 06/19/2019)

06/19/2019   Ï 28   STIPULATION of Dismissal of Defendant General Motors Corporation (Black, John) (Entered:
                    06/19/2019)

06/26/2019   Ï 29   MINUTE entry before the Honorable John Robert Blakey: Based upon the filing of the stipulated
                    dismissal 28 , Defendant General Motors Corporation is dismissed with prejudice. Mailed notice
                    (gel, ) (Entered: 06/26/2019)

06/26/2019   Ï 30   MINUTE entry before the Honorable John Robert Blakey: Status hearing held on 6/26/2019. Any
                    renewed motion to dismiss shall be filed on or before 7/10/2019; response shall be filed on or before
                    7/24/2019; reply shall be filed on or before 8/7/2019; motion hearing set for 9/11/2019 at 9:45 a.m.
                    in Courtroom 1203. Oral agreed motion to stay discovery pending the next court date is granted.
             USDCMailed
                  IN/ND   case(gel,
                        notice  1:19-cv-00399-DRL
                                    ) (Entered: 06/26/2019)document 37 filed 09/17/19 page 5 of 5

07/09/2019   Ï 31   MOTION by Defendants General Motors LLC, General Motors, LLC to dismiss for lack of
                    jurisdiction or in the Alternative to Transfer Venue (Brunty, Christina) (Entered: 07/09/2019)

07/09/2019   Ï 32   NOTICE of Motion by Christina C Brunty for presentment of motion to dismiss/lack of jurisdiction
                    31 before Honorable John Robert Blakey on 9/11/2019 at 09:45 AM. (Brunty, Christina) (Entered:
                    07/09/2019)

07/24/2019   Ï 33   RESPONSE by Brian Burckharttein Opposition to MOTION by Defendants General Motors LLC,
                    General Motors, LLC to dismiss for lack of jurisdiction or in the Alternative to Transfer Venue 31
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Friedman, Mitchell) (Entered:
                    07/24/2019)

08/07/2019   Ï 34   REPLY by Defendant General Motors LLC to motion to dismiss/lack of jurisdiction 31
                    DEFENDANT GENERAL MOTORS LLC'S REPLY IN SUPPORT OF MOTION TO DISMISS OR,
                    IN THE ALTERNATIVE, TO TRANSFER VENUE (Black, John) (Entered: 08/07/2019)

09/11/2019   Ï 35   MINUTE entry before the Honorable John Robert Blakey: Plaintiff's motion to dismiss or to transfer
                    31 is granted in part and denied in part. Defendant argues that this Court lacks personal jurisdiction
                    over it; that is the case. Defendant is a Delaware limited liability company that maintains its
                    principal place of business in Michigan. Thus, in light of the record, this Court cannot exercise
                    general personal jurisdiction over Defendant. Daimler AG v. Bauman, 571 U.S. 117, 139 (2014).
                    Moreover, as stated in open court, Plaintiff concedes that this Court lacks specific jurisdiction over
                    Defendant, as his alleged injury occurred in Roanoke, Indiana. See also Tamburo v. Dworkin, 601
                    F.3d 693, 702 (7th Cir. 2010). Notwithstanding, this Court need not have personal jurisdiction to
                    transfer the case under 28 U.S.C. §1406(a), which provides: "The district court of a district in which
                    is filed a case laying venue in the wrong division or district shall dismiss, or if it be in the interest of
                    justice, transfer such case to any district or division in which it could have been brought." E.g., Cot
                    v. Wadel, 796 F.2d 981, 98485 (7th Cir. 1986). Upon review, this Court finds that the interests of
                    justice favor transfer of this case to the Northern District of Indiana, where Plaintiff's alleged injury
                    occurred. The Clerk is directed to transfer this case forthwith to the United States District Court for
                    the Northern District of Indiana. Civil case terminated. Mailed notice (gel, ) (Entered: 09/11/2019)

09/12/2019   Ï 36   TRANSFERRED to the USDC Northern District of Indiana the electronic record. (mma, ) (Entered:
                    09/12/2019)
